Dear Chairman Spiller,
The Attorney General has considered your request for an opinion wherein you ask, in effect, the following question.
1. Must a Claim Contract be subject to bid?
 2. Is a contract valid that is not in compliance with 74 O.S. 1306(3)(1978)?
Title 74 O.S. 1306 (1978) Subsection 1 (b) states:
  "The Board shall administer and manage the Health and Life Insurance plans, and, subject to the following provisions of this act, shall have the following powers and duties:
The authority and duty to request bids through the Purchasing Division of the State Board of Public Affairs, for a contract to be the claims administrator for all or any part of the Health and Life insurance plans."
Also in 74 O.S. 1306 (1978) Subsection 3:
  "The Board shall contract for claims administration services of a private insurance carrier or a company that specializes in claims administration of health care services that is authorized to do business in the State of Oklahoma, and no contract for claims administrations services shall be made unless such contract has been offered for bids through the Purchasing Division of the State Board of Public Affairs.
Therefore, the answer to question one is in the affirmative. A claims contract is subject to a bidding process as stated in 74 O.S. 1306 (1978) Subsection 3.
Question two is answered in the negative. Unless there is compliance with 74 O.S. 1306 (1978) Subsection 3, there is no valid contract.
It is, therefore, the opinion of the Attorney General that a ClaimContract must be subject to the bidding process as stated in 74 O.S. 1306(1978) Subsection 3. If the contract is not subject to this bid dingprocess then the contract is not valid.
JAN ERIC CARTWRIGHT, ATTORNEY GENERAL OF OKLAHOMA
STEPHEN F. SHANBOUR, ASSISTANT ATTORNEY GENERAL